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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                     Chapter 11

AGSPRING, LLC, et al.,1                                    Case No. 23-10699 (CTG)

                                   Debtors.                Jointly Administered

                                                           Ref Docket No. 24



    ORDER AUTHORIZING THE EMPLOYMENT AND RETENTION OF PACHULSKI
        STANG ZIEHL & JONES LLP AS CO-COUNSEL FOR THE DEBTORS
                  EFFECTIVE AS OF THE PETITION DATE

         Upon consideration of the application (the “Application”)2 of the above-captioned

debtors and debtors in possession (collectively, the “Debtors”) seeking authorization to employ

and retain Pachulski Stang Ziehl & Jones LLP (“PSZ&J” or the “Firm”) as co-counsel for the

Debtors; and upon (i) the Rule 2016 Statement and (ii) the Jones Declaration, which were

submitted concurrently with the Application; and the Court being satisfied, based on the

representations made in the Application, the Rule 2016 Statement and the Jones Declaration that

PSZ&J does not represent or hold any interest adverse to the Debtors or the Debtors’ estates with

respect to the matters upon which it is to be engaged, and is disinterested as that term is defined

under section 101(14) of the Bankruptcy Code, and as modified by section 1107(b) of the

Bankruptcy Code, and that the employment of PSZ&J is necessary and in the best interests of the

Debtors and the Debtors’ estates; and that the district court has jurisdiction over the Application



1  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Agspring, LLC (7735); Agspring Idaho 1 LLC (1720); Agspring Idaho LLC (8754); FO-ND LLC, dba
Firebrand Artisan Mills (1520); Agspring Logistics LLC, dba Agforce (6067); and Agspring Idaho 2 LLC (9262).
The Debtors’ mailing address is 5101 College Boulevard, Leawood, KS 66211.
2 Capitalized terms, unless otherwise defined herein, shall have the meanings ascribed to them in the Application.
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under 28 U.S.C. § 1334, which was referred to this Court under 28 U.S.C. § 157 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012; and this Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2), and that this Court may enter a final order consistent with

Article III of the United States Constitution; and this Court having found that venue of this

proceeding and the Application in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

and this Court having found that the Debtors’ notice of the Application and opportunity for a

hearing on the Application were appropriate and no other notice need be provided; and this Court

having reviewed the Application; and after due deliberation and good and sufficient cause

appearing, it is HEREBY ORDERED THAT:

       1.    The Application is granted as set forth herein.

       2.    Pursuant to section 327(a) of the Bankruptcy Code, the Debtors are authorized to

employ and retain the Firm as co-counsel, effective as of the Petition Date, on the terms set forth

in the Application, the Rule 2016 Statement and the Jones Declaration.

       3.    The Firm shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with the Debtors’ chapter 11 cases in

compliance with sections 330 and 331 of the Bankruptcy Code and applicable provisions of the

Bankruptcy Rules, Local Rules, and any other applicable procedures and orders of the Court.

       4.    The Debtors are authorized to take all steps necessary or appropriate to carry out the

relief granted in this Order.




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       5.    The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Order.




     Dated: August 16th, 2023             CRAIG T. GOLDBLATT
     Wilmington, Delaware                 UNITED STATES BANKRUPTCY JUDGE




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